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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ROBERT LINDBLAD,                                   Case No. 21-cv-06606-SI
                                   8                    Plaintiff,
                                                                                            ORDER ON PLAINTIFF’S MOTION
                                   9             v.                                         FOR DEFAULT JUDGMENT
                                  10     CARLOS G. BOLANOS, et al.,                         Re: Dkt. No. 19
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Fed. R. Civ. P. 55(a), plaintiff filed a pro se motion for default judgment on

                                  14   November 8, 2021. Dkt. No. 19. Plaintiff did not, however, seek or obtain issuance of a Default

                                  15   from the Office of the Clerk, as is required prior to issuance of a Default Judgment by the Court.
                                       Plaintiff’s motion for default judgment alleges defendants received service on October 12, 2021. Id.
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                                       ¶ 4. However, the Process Receipt and Return documentation from the U.S. Marshal, Dkt. No. 24,
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                                       indicates that defendants were served on November 2, 2021. Dkt. No. 20. Further, defendants assert
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                                       in their Case Management Conference Statement that proper service has never been effected. In
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                                       light of this confusion, defendants have proposed, and the Court directs, that service shall be deemed
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                                       complete by November 23, 2021. Thus responses are not due until December 15, 2021.
                                  21
                                              The grant or denial of default judgment is “entirely within the court’s discretion.” PepsiCo,
                                  22   Inc. v. California Sec. Cans, 238 F. Supp. 2d 1172, 1174 (C.D. Cal. 2002). Because plaintiff’s
                                  23   motion is premature given the date of service, the Court DENIES plaintiff’s motion.
                                  24          IT IS SO ORDERED.
                                  25   Dated: December 13, 2021
                                  26                                                    ______________________________________
                                  27                                                    SUSAN ILLSTON
                                                                                        United States District Judge
                                  28
